               Case 1:17-cr-00288-RDB Document 100 Filed 03/29/18 Page 1 of 3

                                                       :'/);5.. " FILED
                                    1:'< THE  UNITEDB/S'M/~!$Q1~Illif1    fOURT
                                          FOR THE DISTRICt/OF        M~1iy D
                                                                811AR29
 United States of America                                          *       PH 12: 34
                                                                CLER'('
                                                                AT t S OFFICE
                    v.                                             ,sALT/MORE Criminal Case No. RDB-17-0288
                                                         81'
 NATHANIEL                OAKS                                 ~DEPUTY
                                                                ******
                                             REGULAR SENTENCING                     ORDER

             (1)         On or before 5/8/2018 (1/01Inore 1"01/ 40 daysfroln I"e dale ofl"'s order), the Probation

 Officer shall provide the initial draft of the presentence report to counsel for the Defendant for

 review with the Defendant. If the Defendant is in pretrial detention, defense counsel may not

 provide a copy of the recommendations section of the presentence report to the Defendant in

 advance of meeting to review the presentence report, and may not leave the recommendations

section of the presentence report with the Defendant once the review has taken place, The

Probation Officer shall also provide the initial draft of the presentence report to counsel for the

Government.

             (2)         On or before 5/22/2018 (I/otless        1//01/   14 daysfroln   daleil/ paragrap"   I), counsel shall

submit, in writing, to the Probation Officer and opposing counsel, any objections to any material

infornlation, sentencing classifications, advisory sentencing guideline ranges, or policy

statements contained in or omitted from the report,

             (3)         After receiving counsel's objections, the Probation Officer shall conduct any

necessary further investigation and may require counsel for both parties to meet with the

Probation Officer to discuss unresolved factual and legal issues, The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting

forth thosc objections and any comment thereon,


Sentencing   Guidelines Order - Regular (Rev. 0912017)
              Case 1:17-cr-00288-RDB Document 100 Filed 03/29/18 Page 2 of 3


            (4)         On or before 6/4/2018           (llot/ess Ihall 11 (Iays/rolll   dale   ill paral:raph   2),   the Probation

 Ol1icer shall file the report (and any revisions and addendum thereto) through CM/ECF.

            (5)         If counsel for either party intends to call any witnesses at the sentencing hearing,

counsel shall submit, in writing, to the Court and opposing counsel, on or before

 7/3/20/8   (1101   Ie." Ihall 14 days be/ore selllelldlll:),    a statement containing (a) the names of the

witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated

length of the hearing.

            (6)         Sentencing memoranda are not required unless a party intends to request a

sentence outside the advisory guidelines range on the basis of a non-guideline factor. If

submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before

7/3/211/8   (1101   leIS Ihall 14 days be/ore sell/elldllg).     Opposing or responding memoranda are not

required. If submitted, they shall be delivered to chambers on or before

7//11/211/8 (lIolles.I.lltall   7 tlllYs be/ore sell/elldllg).   Copies of all memoranda must be sent to the

Probation Officer.

            (7)         Sentencing shall be on 7/17/2018 at 11:00 am.

            (8)        The presentence report, any revisions, and any proposed findings made by the

Probation Ol1icer in the addendum to the report shall constitute the tentative findings of the

Court under section 6A 1.3 of the sentencing guidelines. In resolving disputed issues of fact, the

Court may consider any reliable information presented by the Probation Officer, the Defendant,

or the Goverrunent, and the Court may issue its own tentative or final findings at any time before

or during the sentencing hearing.




Sentencing Guidelines Order - Regular (Rev. 09/2017)
                                                                     2
             Case 1:17-cr-00288-RDB Document 100 Filed 03/29/18 Page 3 of 3


           (9)       Nothing in this Order requires the disclosure of any portions of the presentence

 report that are not disclosable under Federal Rules of Criminal Procedure 32.




 March 29, 2018                                                    /Ul-.lJ.$p
 Date                                                       Richard D. Bennett
                                                            United States District Judge




Sentencing Guidelines Order. Regular   (Rev. 0912017)

                                                        3
